    Case 3:25-cv-02847-AMO   Document 37-12   Filed 04/04/25   Page 1 of 4




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    NORTHWEST IMMIGRANT RIGHTS
              Plaintiffs,             PROJECT (NWIRP) IN SUPPORT OF
                                      PLAINTIFFS’ MOTION FOR A
     v.                               PRELIMINARY INJUNCTION

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
     Case 3:25-cv-02847-AMO           Document 37-12        Filed 04/04/25      Page 2 of 4




                     SUPPLEMENTAL DECLARATION OF
               NORTHWEST IMMIGRANT RIGHTS PROJECT (NWIRP)


I, Vanessa Gutierrez, make the following statements on behalf of myself and Northwest Immigrant
Rights Project (NWIRP). I certify under penalty of perjury that the following statement is true and
correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-10) as if fully set forth hererein.
   2. My name is Vanessa Gutierrez, and I am the Deputy Director at Northwest Immigrant
      Rights Project (“NWIRP”) who oversees NWIRP’s Unaccompanied Children Program
      (“UCP”). NWIRP provides legal services to unaccompanied immigrant children and youth
      who have been released from Office of Refugee Resettlement (“ORR”) custody to sponsors
      throughout Washington State.
   3. Since learning, on March 21, 2025, of the termination of the U.S. Department of Health
      and Human Services (HHS) contract with Acacia for legal services for unaccompanied
      children (to which our organization is a subcontractor), NWIRP has had to use limited
      unrestricted funding and funds from our reserves to support our ongoing representation of
      UCP clients and retention of the 28 staff (20.9 FTEs) who provide this representation.
      Much of our funding is grant-specific, and as an organization we rely on our limited pool
      of unrestricted funding to support work that is not covered by a specific grant but is still
      vital for supporting the rights of immigrant communities in Washington, including
      representation of individuals detained at the Northwest ICE Processing Center, youth who
      are over the age of 18, and families seeking stability and reunification through the the
      family visa process. Any funds that NWIRP directs to sustain services previously provided
      under this contract take away from other critical services that NWIRP is committed to
      providing in the community.
   4. Faced with the loss of UCP funding, and to avoid needing to resort to staff layoffs in the
      future, NWIRP has decided to shift UCP staff to other positions with dedicated funding
      sources. This month, we plan to shift two UCP attorneys to new positions that were initially
      intended to be temporary positions for which we planned to hire externally. Now, we are
      converting those positions into permanent positions, which will also exert a financial
      impact on NWIRP in the long term because we will need to secure funding to support these
      positions after the funding ends. Our remaining UCP staff will need to absorb the caseloads
      of the two shifting attorneys. We had already decided to pause accepting new
      unaccompanied children clients because of the contract termination, and now with
      increasing staff caseloads due to these internal shifts, future capacity to take on new
      children’s cases will be that much more limited.


                                                1
     Case 3:25-cv-02847-AMO            Document 37-12         Filed 04/04/25     Page 3 of 4




   5. The contract termination has had a significant negative impact on staff morale. Staff are
      concerned about what the contract termination will mean for their long-term job security.
      While we try to reassure staff that we will do everything possible to avoid layoffs, we
      cannot guarantee that layoffs will never become necessary, especially if we lose other
      federal funding and we are not able to raise enough funds to make up the difference. Staff
      are also aware that another organization in our area that received UCP funding and did
      similar work to our UCP team has had to lay off nearly all of their staff and will be closing
      their office in less than two months. NWIRP’s staff is also aware that there are now
      hundreds of children and youth who have lost representation in their immigration cases but
      we are unfortunately unable to assist all of those children and youth because of NWIRP’s
      loss of the same funding. The loss of funding has also impacted our ability to hire new
      staff. We had extended an offer to a new attorney, with extensive prior experience serving
      UCP clients, to work with our UCP team in our Granger, WA office, where it has
      historically been very difficult to hire. This position would have represented children in the
      Unaccompanied Refugee Minors program, which was work NWIRP had recently agreed
      to take on under our Option Year 2 contract, and it would have supported the extremely
      high need that we have seen for representation for unaccompanied children in this part of
      Eastern Washington. The attorney was aware of the contract termination and ended up
      withdrawing acceptance of NWIRP’s offer, in part, because of the uncertainty of funding
      in this area of work. We are unable to hire for this position now because of a hiring freeze
      we have had to impose as a result of the lost funding, but the high need for representation
      in this area remains.
   6. Within the next month, NWIRP will need to attend at least one state court hearing for a
      UCP client and seven Master Calendar Hearings on the juvenile docket at the Seattle
      Immigration Court. Our UCP cases also require filing motions before the state and
      immigration courts and preparing applications for relief before USCIS. Any pause in this
      work could harm our UCP clients’ cases and prospects for future immigration relief.

   7. NWIRP is unable to rely only on pro bono counsel for representation. Our UCP team has
      made efforts to recruit and train pro bono attorneys who can take on state court cases for
      Special Immigrant Juvenile classification-eligible children and youth, but the number of
      pro bono attorneys who accept referrals for our clients remains low. For cases that UCP
      staff can place with pro bono attorneys, UCP staff end up needing to spend a significant
      amount of time and resources on mentorship, technical assistance, document review, and
      assistance with client communication. The loss of the UCP funding also ended our ability
      to provide pro bono attorneys with interpretation and translation services, which is often
      an obstacle to their ability to provide representation to NWIRP clients.
I declare under penalty of perjury that the foregoing is true and correct.



                                                  2
     Case 3:25-cv-02847-AMO         Document 37-12      Filed 04/04/25   Page 4 of 4




Executed on the 3rd of April 2025, in Wenatchee, Washington.




_________________________
Vanessa Gutierrez
Deputy Director
Northwest Immigrant Rights Project




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